         Case 1:21-cv-02887-EGS Document 58 Filed 09/13/22 Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 GIFFORDS,

                       Plaintiff,

               v.                                 No. 21-cv-2887-EGS

 NATIONAL RIFLE ASSOCIATION OF
 AMERICA POLITICAL VICTORY FUND,
 et al.,

                       Defendants.



                      NOTICE OF SUBSEQUENT DEVELOPMENTS

       Defendants Josh Hawley for Senate, the National Rifle Association of America Political

Victory Fund, and the National Rifle Association of America, respectfully notify the Court of

subsequent factual developments regarding the matters underlying the present case.

       On September 1, 2022, the Federal Election Commission (“FEC” or “Commission”)

informed Defendants that it has “successfully vote[d] to close the file in FEC Matters Under

Review (“MURs”) 7427, 7497, 7524, and 7553 . . .” The FEC notified Defendants of the successful

vote to close the file via letter (attached hereto as Exhibit A), and also by filing Notices of

Subsequent Developments in two suits designated as “related” this case, captioned as The National

Rifle Association of America Political Victory Fund et al. v. Federal Election Commission, 1:22-

cv-01017, and Josh Hawley For Senate v. Federal Election Commission, 1:22-cv-01275

(collectively, the “FOIA Suits”). The Notices of Subsequent Developments filed by the FEC in the

FOIA Suits are attached hereto as Exhibit B. In addition to indicating that the files have been

closed, the FEC further noted that “[d]ocuments related to the case will be placed on the public
         Case 1:21-cv-02887-EGS Document 58 Filed 09/13/22 Page 2 of 4




record within 30 days [and a] Statement of Reasons explaining the Commission’s decision will

follow.” Ex. A.

       As this Court is well aware, “Plaintiff Giffords brings this action under 52 U.S.C. §

30109(a)(8)(C) . . .” Complaint at 2 (ECF No. 1). Under 52 U.S.C. § 30109(a)(8)(C), a district

court may authorize an administrative complainant to file a direct suit against the administrative

respondents only when the FEC fails to “act” on an administrative complaint. See 52 U.S.C. §

30109(a)(8)(A), (C). While Defendants have maintained from the outset that the FEC did in fact

“act” on the Plaintiff’s administrative complaints when it deadlocked 3-2 on motions to find reason

to believe in February 2021, see generally Defendants’ respective Motions to Dismiss, ECF Nos.

31, 35, 43, 44, Plaintiff has argued that the FEC had not acted on Plaintiff’s administrative

complaints because the FEC did not formally “vote to close the file.” See Plaintiff’s Combined

Memorandum in Opposition to Defendants’ Motions to Dismiss, ECF No. 39.

       While the parties in this suit disagree as to the legal significance of a Commission vote to

close the file, including, e.g., whether a vote to “close the file” has any effect on whether the FEC

has “acted” on an administrative complaint for the purposes of 52 U.S.C. § 30109(a)(8), the above-

referenced developments, i.e., the FEC’s completion of its routine, pro forma, and ministerial final

act of voting to close the file, make it beyond dispute that the FEC has, as Defendants have

maintained from the outset, acted on Plaintiff’s administrative complaints. Given the various fully-

briefed motions pending before the Court—i.e., Matt Rosendale For Montana’s Motion to Dismiss

(ECF Nos. 30, 39, 42); Josh Hawley for Senate’s Motion to Dismiss (ECF Nos. 31, 40, 44); the

NRA Affiliates’ Motion to Dismiss (ECF Nos. 35, 41, 43); and the NRA Affiliates’ and Josh

Hawley for Senate’s Joint Motion to Hold Proceedings in Abeyance (ECF Nos. 52, 55, 57)—

Defendants submit this Notice to provide the Court with this immediate update.




                                                 2
         Case 1:21-cv-02887-EGS Document 58 Filed 09/13/22 Page 3 of 4




       Finally, while Defendants maintain that this Court lacks subject matter jurisdiction over

this case and that Plaintiff failed to state a claim on which relief can be granted—arguments that

are only bolstered by these developments—the undersigned defense counsel will confer with

Plaintiff’s counsel to confirm whether it agrees that this case may be dismissed. If, however,

Plaintiff indicates that it will not agree to dismiss the case, then Defendants intend to move the

Court for a status conference, preferably to be held after the FEC releases the statement of reasons

pertaining to the underlying MURs, which the FEC has indicated will likely be released by

September 30, 2022. See Ex. B (notices filed by the FEC in the FOIA Suits on September 1, 2022,

stating that “categories of documents integral to [the FEC’s] decision-making process in the

MURs, including certifications of Commission votes and Commissioner statements of reasons,”

are likely to be placed on the public record by September 30, 2022).



 Dated: September 13, 2022                           Respectfully submitted,

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                                                 3
         Case 1:21-cv-02887-EGS Document 58 Filed 09/13/22 Page 4 of 4




                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 13, 2022, I caused a true and correct copy of the
foregoing document to be served upon all counsel of record registered with the Court’s ECF
system, by electronic service via the Court’s ECF transmission facilities.



                                                     /s/ Jason Torchinsky
